Pnos.12 .
Rw_ms} Case 2.01-Cr-20251-.]P|\/|-de Document 66 Filed 07/05/05 Pagelon PagelD 68

UNITED STATES DISTRICT COURT msu By%“_ n_¢

for

05 JUL ~5 PH 3= \9
w s'rEnN msTRICT oF TENNESSEE

 

IHOW»S M GUJUJ
_ U.S. sam UBT
W OF EI=z. ltEWr!!S

U. S. A. vs. Lakina S. Cook Docket No. 2:01CR-20251-01

 

 

Petition on Probation and Supervised Release

COMES NOW DLIIK. Butler, PROBATION OFFICER OF THE COURT presenting anoHicial report
upon the conduct and attitude of Lakina S. Cook who was placed on supervision by the Honorable Ju]ia Smith
Gibbons sitting in the Court at Memghis, TN on the _1_5_t_l_1_ day of Marcg 2002, who tixed the period of supervision
at three 131 years * , and imposed the general terms and conditions theretofore adopted by the Court and also
imposed Special Conditions and terms as follows:

1. The defendant shall pay restitution in the amount of $574,496.61. ( Balance: $573,471.61)
* Terrn of Supervision Began: August 22, 2003

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Lakina S. Cook fits the criteria for early termination recommended by the Judicial Conference Committee on Criminal
Law. She has made progressive strides toward achieving supervision objectives and appears to pose no risk to public
safety. Ms. Cook has made a good faith eH`ort to satisfy the restitution, however, she has a large remaining balance
As of June 22, 2005, she has made a total of $1,025.00 towards her restitution Carroll Andre, Assistant U. S.
Attorney, has no objections to this early termination request. Additionally, the U. S. Attorney’s Financial Litigation
Unit has been contacted, and a restitution payment plan has been approved.

PRAYING THAT THE COURT WILL ORDER Ms. Cook be discharged from supervision with the
understanding that the United States Attomey’s OHice will be responsible for the continued collection of the
restitution

ORDER OF COURT Respectfully,

Co idered and ordered this / day \£XM\
::5%_, 20 §§ and ordered filed Daryl K. Butler

 

 

 

a part of the records in the above United States Probation OiHcer
case.
/GWQ m \ GM Place Memphis. Tennessee
~ Ck.
Uni d S tes District Judge Date June 22. 2005

 

Th‘:s document entered on the docket speed in co`r(rypliance &é
thh Flule 56 and/or 32(b) FFlCrP on “S’Q

 

ETEN D

F ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:0]-CR-20251 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

l\/lemphis7 TN 38177

Stuart B. Breakstone
BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

